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STEVEN G. KALAR

chcral Public Defendcr

GRAHAM ARCHER F l L' E D q

Assistant F ederal Public Defendcr '

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San Josc, CA 95113 "<. j;
Telephone: <408) 291-1753 QLEHE%?$,"DY~S$S.S¥%MT "<
graham_arch@r@fd.@rg NoHrHERN Dg§fjgs%mwon~m §
Counscl for Defendant DOUGLAS YORK W\/

lN THE UNITED STATES DISTRlCT COURT
FOR THE NORTHERN DlSTRlCT OF CALIFORNLA

SAN JOSE DIVISION

UNITED STATES OF AMERICA, ) NO. CR-15~00226 EJD
)

Plaintiff, ) NOTICE OF APPEAL
)
vs. )
)
DOUGLAS YORK, )
)
Dcfendant. )
)

 

PLEASE TAKE NOTlCE that Douglas York, the defendant in the above-captioned

criminal case, hereby appeals his conviction and sentence to the Ninth Circuit Court of Appeals.

Dated: January 7, 2016
Respectfully submittcd,

STEVEN G. KALAR
Federal Pub1ic Dcfender

S/ Graham Archer
GRAHAM ARCHER
Assistant Federal Public Defcndcr

Notice of Appeal
No. CR 15-00226 EID 1

 

